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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE


UNITED STATES OF AMERICA            )
                                    )                Criminal Case No. 18-cr-109-01-SM
      v.                            )
                                    )
KEN D. MA a/k/a,                    )
KENNETH MA a/k/a,                   )
KEN DUC MA                          )
                                    )
___________________________________ )

                                         INDICTMENT

The Grand Jury charges:

                                          COUNT ONE

                                [18 U.S.C. § 1952 – Travel Act]

       From an unknown date but at the latest by March 1, 2015, through on or about November

7, 2017, in the District of New Hampshire and elsewhere, the defendant,

                                          KEN D. MA,

used and caused to be used facilities in interstate commerce, specifically, by placing

advertisements on the internet through online marketplaces including Craigslist.com and

Backpage.com, internet service providers with servers located outside the District of New

Hampshire, with intent to promote, manage, establish, and carry on, and to facilitate the

promotion, management, establishment and carrying on of prostitution, an unlawful activity,

through his ownership and management of businesses including Qi Natural Healing Massage,

LLC in Plaistow, New Hampshire; Oriental Bodyworks, in Exeter, New Hampshire; and

Johnny’s Massage a/k/a Qi Natural, in Salem, New Hampshire, and thereafter did perform and

attempt to perform acts to promote, manage, establish, and carry on, and to facilitate the
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promotion, management, and carrying on of prostitution, in violation of Title 18, United States

Code, Section 1952(a).


                  NOTICE OF CRIMINAL FORFEITURE PURSUANT TO
                     18 U.S.C. § 981(A)(1)(c) AND 28 U.S.C. § 2461(c)

A. FORFEITABLE PROPERTY

       The allegations of Counts of this Indictment are hereby re-alleged and incorporated by

reference for the purpose of alleging forfeitures pursuant to Title 18, United States Code, Section

981(a)(1)(C) and Title 28, United States Code, Section 2461(c). Upon conviction of the offenses

in violation of Title 18, United States Code, Section 1952 set forth in Courts of this Indictment,

the defendant, Ken D. Ma, shall forfeit to the United States pursuant to Title 18, United States

Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), any property, real

or personal, which constitutes or is derived from proceeds traceable to the offense. The property

to be forfeited includes, but is not limited to, the following:

   1. 2017 Volvo XC90, VIN #YV4A22PK7H1186799;

   2. Eight thousand four hundred forty dollars ($8,440.00) in U.S. Currency, more or less;

   3. Twenty-six thousand seven hundred ten dollars ($26,710.00) in U.S. Currency, more or
      less;

   4. Eight thousand three hundred eighty dollars ($8,380.00) in U.S. Currency, more or less;

   5. Forty-three thousand two hundred fifty eight dollars and eighty three cents ($43,258.83)
      in U.S. Currency, more or less;

   6. Fourteen thousand dollars ($14,000.00) in U.S. Currency, more or less;

   7. Twelve thousand five hundred dollars ($12,500.00) in U.S. Currency, more or less;

   8. Eleven thousand eight hundred dollars ($11,800.00) in U.S. Currency, more or less;
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      9. Sixty-one thousand three hundred seventy eight dollars and thirty nine cents ($61,378.39)
         in U.S. Currency, more or less;

      10. 55 Portsmouth Avenue, Exeter, NH; and

      11. 64 Westville Road, Plaistow, NH.


         All in accordance to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Title 18 U.S.C. §

982(a)(1), and Rule 32.2(a), Federal Rules of Criminal Procedure.



                                                      A TRUE BILL

Dated: July 11, 2018                                  /s/ Foreperson
                                                      GRAND JURY FOREPERSON



         SCOTT W. MURRAY
         United States Attorney

By:      /s/ Georgiana L. Konesky
         Georgiana L. Konesky
         Assistant U.S. Attorney
